                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



LUMINOR CONSULTING CORP.;                         )
DLC ELITE LENDING CORPORATION;                    )
HEARD CONCRETE CONSTRUCTION                       )
CORP.; THOMAS DAVIS;                              )
KEVIN HARRISON,                                   )   Civil Action No. 3:22-CV-00555
                                                  )
        Plaintiffs,                               )   Judges Richardson and Frensley
                                                  )
v.                                                )   Jury Demanded
                                                  )
DR. ADEL ELMESSIRY and                            )
WEBDBTECH, INC.,                                  )
                                                  )
        Defendants/Counterplaintiffs/             )
        Third-Party Plaintiff,                    )
                                                  )
v.                                                )
                                                  )
LUMINOR CONSULTING CORP.;                         )
HEARD CONCRETE CONSTRUCTION                       )
CORP., TOM DAVIS, and                             )
JEFFREY HOU YIN HO,                               )
                                                  )
        Counterdefendants,                        )
                                                  )
And                                               )
                                                  )
EMTECH, ROB ABENANTE, and                         )
ANISH PABARI,                                     )
                                                  )
        Third-Party Defendants.                   )


              ADEL ELMESSIRY’S FIRST AMMENDED COUNTERCLAIM
                             AND THIRD-PARTY COMPLAINT

        Dr. Adel ELMessiry (“Dr. ELMessiry”), by and through counsel, submits this First

Amended Counterclaim and Third-Party Complaint:



                                            1

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                                        INTRODUCTION
        Dr. Adel ELMessiry and the company he partially owns, WebDBTech, are the victims in

this matter. Dr. ELMessiry was solicited by three individuals: Anish Pabari, Rob Abenante, and

Tom Davis to enter into a partnership related to the creation of the ROBe2 Protocol. The

partnership engaged WebDBTech for its expertise in software development and Blockchain

technology and demanded a fast timeline to create the ROBe2 Protocol. WebDBTech fully

performed and delivered its product in the form of Non-Fungible Tokens for investors. During

this time, Pabari, Abenante, and Davis hatched a scheme to take WebDBTech public and use it to

sell the ROBe2 Protocol. However, Dr. ELMessiry discovered that the true intentions of his

partners were to use WebDBTech as the vehicle for a means to scam its investors. When Dr.

ELMessiry refused to allow WebDBTech to be used in this manner, his partners turned on him

and refused to pay the debt owed to WebDBTech for its services. In addition to not paying their

debt, Pabari, Abenante and Davis have profited from investors in the ROBe2 Protocol but have

neither given Dr. ELMessiry his share of the profits nor paid WebDBTech what is owed.

                   COUNTERCLAIM AND THIRD-PARTY COMPLAINT

        Wherefore, Dr. Adel ELMessiry assumes the role of Counterplaintiff and Third-Party

Plaintiff and brings the following Counterclaim and Third-Party Complaint in this matter against

the Plaintiff/Counterdefendant and Third-Party Defendants identified below:

                                            PARTIES

1.         Dr. ELMessiry is an individual located at 9370 Bournsmouth Ct., Brentwood,

Tennessee 37027.

2.      Tom Davis is a Plaintiff in this matter subject to this Counterclaim.



                                                 2

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3.       Anish Pabari is a partner in this matter and should be included as a Third-Party Defendant.

4.       Rob Abenante is an individual located at 2615 Pioneer Way Port Coquitlam BC V3C 5Y6

Canada, Vancouver, B.C. Canada. Abenante is a partner in this matter and should be included as

a Third-Party Defendant.

5.       Davis is a Counterdefendant.

6.       Collectively, Abenante and Pabari are the Third-Party Defendants.

                                 JURISDICTION AND VENUE

7.       This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there is complete

diversity among the parties and the amount in controversy, excluding interest and costs, exceeds

$75,000.

8.       This Court has personal jurisdiction over the Counterdefendant and Third-Party

Defendants because, among other reasons, they subjected themselves to the jurisdiction of this

State by transacting business in Tennessee with Dr. ELMessiry.

9.       Venue is proper in this Court because, among other reasons, this is a compulsory

counterclaim and under 28 U.S.C § 1391, a substantial portion of the events giving rise to this

claim occurred in this State, which is the residence of Dr. ELMessiry.

                                              FACTS

10.      Dr. ELMessiry entered into an oral partnership with Counterdefendant Davis and Third-

Party Defendants Pabari and Abenante to develop the software protocol necessary for the

development of an innovative, renewable energy based Blockchain software protocol called

Renewable Obligation Base Energy Economy (the “ROBe2 Protocol”).




                                                  3

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11.      WebDBTech was hired to perform this work in an aggressive timeline, such that it had to

primarily focus only on the ROBe2Protocol to the exclusion of other projects.

12.      WebDBTech was engaged to do this by the partnership comprised of Dr. ELMessiry,

Thomas Davis, Rob Abenante, and Anish Pabari.

13.      WebDBTech also had four written contracts for the performance of portions of the

ROBe2Protocol.

14.      Those contracts were with 1.) EMTech (alter ego of Heard and Davis) for the sum of

$400,000, attached hereto as Exhibit A; 2.) Anish Pabari for the sum of $200,000, attached hereto

as Exhibit B; 3.) Jeffrey Hou Yin Ho (acting on behalf of Pabari) for the sum of $200,000, attached

hereto as Exhibit C; and 4.) Luminor Consulting Corp. (Abenante’s company) for the sum of

$280,000, attached hereto as Exhibit D.

15.      The Luminor and EMTech contracts with WebDBTech were unsigned. Both the Luminor

and EMTech contracts were assented to by the parties to be charged.

16.      None of the contracting parties in Exhibits A – D have paid their full contracted amount.

17.      WebDBTech was paid a total of $698,647 for a portion of this work. That payment was

made as follows: $266,000 from EMTech via Heard for the benefit of Tom Davis; $265,980 paid

by various individuals for the benefit from Anish Pabari; and $166,667 paid by Luminor

Consulting for the benefit of Rob Abenante.

18.      WebDBTech is still owed $1,600,753 for the work it did for the ROBe2 Protocol. Of that

amount, Counterdefendant Davis and Third-Party Defendants Pabari and Abenante owe

$1,000,753.




                                                 4

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19.      WebDBTech continues to incur expenses for the maintenance of the ROBe2Protocol for

which it is not being compensated. Currently, the maintenance for the software is $50,000 per

month, but that amount will increase in January of 2023.

20.      In addition, Dr. ELMessiry and WebDBTech incurred several thousand dollars of needless

accounting bills required by the partnership for its plan to turn WebDBTech into a public company.

21.      Dr. ELMessiry and WebDBTech have fully performed their work on the ROBe2 Protocol

and have timely delivered the Non-Fungible Tokens (“NFTs) to the investors in the protocol and

the partners. The only remaining deliverables are to turn over the software and the keys to the

protocol. WebDBTech has offered to do this many times upon resolution of the outstanding debt,

but Pabari, Abenante and Davis have refused its offers.

22.      Dr. ELMessiry and WebDBTech continue to suffer financially as a result of the acts

committed by Counterdefendant and Third-Party Defendants due to its ongoing costs for the

ROBe2 Protocol and the services which have not been paid related to the ROBe2 Protocol, plus

its lost opportunity costs for the work it performed in a compressed timeline.

23.      Furthermore, Counterdefendant and Third-Party Defendants are believed to have received

investments related to the ROBe2 Protocol that have not been shared with the entire partnership.

An article indicating this investment has been attached as Exhibit E.

                                     CAUSES OF ACTION
                COUNT I – BREACH OF FIDUCIARY DUTY AND/OR
           BREACH OF OBLIGATION OF GOOD FAITH AND FAIR DEALING
                       (Against Pabari, Davis and Abenante)

24.      Dr. ELMessiry realleges and incorporates by reference the allegations above.

25.      Pabari, Davis and Abenante induced Dr. ELMessiry into a partnership to develop the

ROBe2 Protocol.


                                                 5

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26.      As members of the partnership, Pabari, Davis and Abenante owed fiduciary duties to,

and/or had an obligation of good faith and fair dealing with, Dr. ELMessiry. See Tenn. Code Ann.

§ 61-1-404. Pabari, Davis, and Abenante promised to provide funding for the creation of the

ROBe2 Protocol.

27.      Dr. ELMessiry relied upon the promise by Pabari, Davis and Abenante to provide funding

to WebDBTech for the creation of the ROBe2 Protocol by setting aside all other projects and

dedicating the full amount of his time towards the development and creation of the ROBe2

Protocol.

28.      Dr. ELMessiry’s time and dedication caused him to expend capital and to forego other

business opportunities to his detriment.

29.      Dr. ELMessiry has performed the services agreed upon by the partnership.

30.      Pabari, Davis, and Abenante intentionally failed to pay WebDBTech, causing the ROBe2

Protocol to not be implemented as planned, even though the ROBe2 Protocol was completed.

31.      Pabari, Davis, and Abenante have intentionally failed to live up to their obligations to the

partnership. Pabari, Davis and Abenante have breached their fiduciary duties owed to Dr.

ELMessiry, as a partner, by preventing the ROBe2 Protocol from being fully implemented causing

financial injury to Dr. ELMessiry and the partnership. This also constitutes a breach of their

obligation of good faith and fair dealing.

32.      Furthermore, as a result of these breaches of fiduciary duties, Dr. ELMessiry has expended

time and capital developing the ROBe2 Protocol and been injured by being denied any profits from

the delivery of the ROBe2 Protocol, plus interest.

                  COUNT II – BREACH OF FIDUCIARY DUTY AND/OR
            BREACH OF OBLIGATION OF GOOD FAITH AND FAIR DEALING
                        (Against Pabari, Davis and Abenante)
33.      Dr. ELMessiry realleges and incorporates by reference the allegations above.

                                                  6

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34.       Pabari, Davis and Abenante induced Dr. ELMessiry into a partnership to develop the

ROBe2 Protocol.

35.       As members of the partnership, Pabari, Davis, and Abenante owed fiduciary duties to, and

or had an obligation of good faith and fair dealing with, Dr. ELMessiry. See Tenn. Code Ann. §

61-1-404.

36.       Pabari, Davis and Abenante used the ROBe2 Protocol to solicit outside investment to the

partnership.

37.       Exhibit E shows that they were successful in receiving outside investment related to the

business of the partnership.

38.       Dr. ELMessiry, as a partner with Pabari, Davis and Abenante, was entitled to receive a

benefit from this investment.

39.       Unfortunately, his partners did not share the benefit of these investments with the

partnership or Dr. ELMessiry.

40.       These actions benefited Pabari, Davis and Abenante and are a breach of their fiduciary duty

to Dr. ELMessiry and the partnership, as well as a breach of their obligations of good faith and fair

dealing

41.       The failure to share the benefit of the investment with Dr. ELMessiry caused injury to Dr.

ELMessiry and the partnership.

                               COUNT III - UNJUST ENRICHMENT
                               (Against Pabari, Davis, and Abenante)
42.       Dr. ELMessiry realleges and incorporates by reference the allegations above.

43.       Dr. ELMessiry has dedicated his time and money to the furtherance of the Partnership and

towards the development of the ROBe2 Protocol.



                                                   7

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44.      Based on Exhibit E and other publicized media articles and signed investor

acknowledgements, Pabari, Davis and Abenante have obtained investors for the ROBe2 protocol.

45.      Pabari, Davis, and Abenante have received large capital investments related to the promise

of delivering the ROBe2 protocol.

46.      In addition, other investors, Pabari, Davis, and Abenante have been given NFTs that have

been tied to the promise of a completed ROBe2 protocol.

47.      Wallets were created by WebDBTech for investors, Pabari, Davis and Abenante to receive

these NFTs.

48.      Pabari, Davis and Abenante have received NFTs and, upon information and belief, large

sums of investment money premised upon the delivery of a completed ROBe2 protocol.

49.      Pabari, Davis and Abenante have intentionally not used these funds towards the completion

of the ROBe2 protocol and have not shared any of the proceeds from investors with Dr. ELMessiry.

50.      By failing to pay what is owed to the partnership, Pabari, Davis and Abenante have been

unjustly enriched by the funds received from these investors and the NFTs provided to Pabari,

Davis, and Abenante and the investors.

51.      It is unjust and inequitable for Pabari, Davis and Abenante to receive these proceeds and

NFTs without giving Dr. ELMessiry his share of the funds.

                                     PRAYER FOR RELIEF

         WHEREFORE, Dr. ELMessiry prays for the following relief:

      A. Judgment in favor of Dr. ELMessiry and against Counterdefendant and Third-Party

         Defendants on all the causes of action alleged above;

      B. All monetary damages in an amount to be determined at trial for which it is entitled under

         the causes of action alleged above;

                                                  8

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   C. Compensatory damages in an amount to be determined by the trier of fact to be fair and

       reasonable;

   D. Prejudgment and post-judgment interest;

   E. Reasonable attorney fees, expenses and costs; and

   F. Such other, further and general relief as this Court deems just and equitable.

                               REQUEST FOR JURY TRIAL

        Dr. ELMessiry hereby makes a demand for a trial by jury pursuant to Rule 38 of the

Federal Rules of Civil Procedure.

                                                    Respectfully submitted,

                                                    /s/ Tara L. Swafford
                                                    THE SWAFFORD LAW FIRM, PLLC
                                                    Thomas Anthony Swafford BPR #17578
                                                    Tara L. Swafford BPR #17577
                                                    Elizabeth G. Hart, BPR #30070
                                                    321 Billingsly Court, Suite 19
                                                    Franklin, Tennessee 37067
                                                    Telephone: (615) 599-8406
                                                    Facsimile: (615) 807-2355
                                                    tony@swaffordlawfirm.com
                                                    tara@swaffordlawfirm.com
                                                    betsy@swaffordlawfirm.com
                                                    Counsel for Defendants




                                                9

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                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and exact copy of the foregoing document has been served via
email, U.S. Mail, or the Court’s Electronic Filing System on:
       Charles H. Williamson
       WALLER LANSDEN DORTCH & DAVIS, LLP
       511 Union Street, Suite 2700
       Nashville, TN 37219
       charley.williamson@wallerlaw.com
       Christopher D. Davis
       Destinee B. Byers
       DAVIS LAW, PLC
       555 Bellaire Ave., Ste. 340
       Chesapeake, Virginia 23320
       chris@davislawplc.com
       destinee@davislawplc.com
this 11th day of January, 2023.




                                                           /s/     Tara L. Swafford
                                                                   Tara L. Swafford




                                               10

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               EXHIBIT A




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                           Software Development Services Agreement

         This Software Development Services               5.   Independent         Contractor.
Agreement (the “Agreement”) is entered into       Developer’s relationship with the Company
the date set forth on the signature page by and   will be that of an independent contractor and
between EMTECH (the “Company”) and the            not that of an employee. Developer will not
undersigned,          WebDbTech,           LLC    be eligible for any employee benefits, nor
(“Developer”).                                    will the Company make deductions from
                                                  payments made to Developer for
        The parties agree as follows:             employment or income taxes, all of which
                                                  will be Developer’s responsibility. Developer
         1. Services. Developer agrees to         will have no authority to enter into contracts
act as a software developer to the Company        that bind the Company or create obligations
and provide its services to the Company from      on the part of the Company without the prior
time to time as mutually agreed to by the         written authorization of the Company.
parties (collectively, the “Services”).           Similarly, the software developers assigned
                                                  work pursuant to this Agreement are
        2. Compensation. As full and              Independent Contractors working at the
complete consideration of the Services to be      request of Developer and will not be
rendered hereunder, the Company shall pay         employed by Company without prior notice
Developer for its Services at the agreed rate     to and approval by Developer.
of FOUR HUNDRED THOUSAND
DOLLARS ($400,000).                                     6. Nondisclosure of Confidential
                                                  Information.
         3. Expenses. The Company shall
promptly reimburse Developer for any                           a. Agreement Not to Disclose.
reasonable costs and expenses incurred by         Developer agrees not to use any Confidential
Developer in connection with any Services         Information (as defined below) disclosed to
specifically requested by the Company and         Developer by the Company for Developer’s
actually performed by Developer pursuant to       own use or for any purpose other than to carry
the terms of this Agreement. Each such            out discussions concerning, and the
expenditure or cost shall be reimbursed only      undertaking of, the Services. Developer
if: (i) with respect to costs in excess of $50,   agrees to take all reasonable measures to
individually, Developer receives prior            protect the secrecy of and avoid disclosure or
approval from the Company’s CEO for such          use of Confidential Information of the
expenditure or cost, and (ii) with respect to     Company in order to prevent it from falling
costs in less than $50, individually, provided    into the public domain or the possession of
Developer furnishes to the Company                persons other than agents of the Company or
adequate records and other documents              persons to whom the Company consents to
reasonably acceptable to the Company              such disclosure. Upon request by the
evidencing such expenditure or cost.              Company, any materials or documents that
                                                  have been furnished by the Company to
        4. Term and Termination. The              Developer in connection with the Services
term of this Agreement shall continue until       shall be promptly returned by Developer to
terminated by either party for any reason         the Company.
upon written notice without further
obligation or liability except obligations                     b. Definition of Confidential
already    incurred    with     respect    to     Information. “Confidential Information”
Compensation.       Notwithstanding       the     means any information, technical data or
foregoing, to provide the parties with            know-how of, or disclosed by, the Company
adequate operational lead time, they agree to     to Developer (whether disclosed before or
provide each other with at least one (1)          after the date of this Agreement), including,
month’s prior written notice in the event of      but not limited to, information relating to
termination.                                      business and product or service plans,
                                                  financial projections, customer lists, business


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forecasts, sales and merchandising, human
resources, patents, patent applications,                    9.   Duty to Assist. As requested by the
computer object or source code, research,           Company and only with respect to Intellectual
inventions, processes, designs, drawings,           Property created by Developer for the Company
engineering, marketing or finance, which is         as provided in paragraph 8 above, Developer
indicated when disclosed to be confidential or      shall take all steps reasonably necessary to assist
proprietary or which information would,             the Company in obtaining and enforcing in its
under the circumstances, appear to a                own name any such Intellectual Property right.
reasonable person to be confidential or             Developer’s obligation to assist the Company
proprietary. Confidential Information does          shall continue beyond the termination of
not include information, technical data or          Developer’s relationship with the Company, but
know-how that: (i) is in the possession of          the Company shall compensate Developer at a
Developer at the time of disclosure, as shown       reasonable rate after the termination of such
by Developer’s files and records immediately        relationship for time actually spent at the
prior to the time of disclosure; or (ii) becomes    Company’s request providing such assistance.
part of the public knowledge or literature, not
as a direct or indirect result of any improper              10. Company’s Right to Disclose. The
inaction      or    action    of      Developer.    Company shall have the right to disclose the
Notwithstanding the foregoing, Developer            existence of this Agreement, Developer’s status
may disclose Confidential Information with          as an Developer, and to include Developer’s
the prior written approval of the Company or        name, image and profile in various promotional
pursuant to the order or requirement of a           materials, including, but not limited to, executive
court, administrative agency or other               summaries, private placement memo, or offering
governmental body.                                  materials, and the Company’s world wide web
                                                    page.
         7. No Rights Granted. Nothing in
this Agreement shall be construed as granting               11. No      Conflicts;     Non-Compete.
any rights under any patent, copyright or           Developer hereby represents, warrants and
other intellectual property right of the            covenants that Developer has the right, power and
Company, nor shall this Agreement grant             authority to enter into this Agreement and that
Developer any rights in or to the Company’s         neither the execution nor delivery of this
Confidential Information, except the limited        Agreement, nor the performance of the Services
right to use the Confidential Information in        by Developer will conflict with or result in a
connection with the Services.                       breach of the terms, conditions or provisions of,
                                                    or constitute a default under, any contract,
         8. Assignment of Intellectual              covenant or instrument under which Developer is
Property. To the extent that Developer              now or hereinafter becomes obligated. During
jointly or solely conceives, develops or            the term of this Agreement, Developer shall not
reduces to practice any new inventions,             provide any services, as an employee, Developer
original works of authorship, developments,         or otherwise, to any person, company or entity
concepts, know-how, improvements or trade           that is (or proposes to be) a business activity that
secrets, whether or not patentable or               is in conflict with or directly related to the
registrable under copyright or similar laws or      business in which the company is now involved
other intellectual property which would be          or becomes involved during the term of this
deemed to be Confidential Information of the        Agreement.
Company         (collectively,      “Intellectual
Property”) which clearly relates to the                      12. Miscellaneous. Any term of this
Company’s business or technology and has            Agreement may be amended or waived only with
been created by the Developer solely in the         the written consent of the parties.            This
course of the performance of Services such as       Agreement, including any schedules hereto,
in correspondence, e-mails, meetings or             constitute the sole agreement of the parties and
meetings relating to the Company, Developer         supersedes all oral negotiations and prior writings
hereby acknowledges that it is “work made           with respect to the subject matter hereof. The
for hire” for the benefit of the Company and        validity, interpretation, construction and
hereby assigns all rights, titles and interest to   performance of this Agreement shall be governed
such Intellectual Property to the Company.          by the laws of the State of Delaware without


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giving effect to the principles of conflict of laws.   original, but all of which together will constitute
This Agreement may be executed in                      one and the same instrument.
counterparts, each of which shall be deemed an

        Services
The scope of this agreement is limited to the following services:
   • Software development in relation with the company proposed website changes.
   • Evaluating blockchain use in creating immutable track of the renewable energy.
   • Token Design
          o Research token base concepts
          o Create several base script a,b, and c
          o Implement a,b, and c base contracts
          o Simulate the base concept contracts
          o QA the transactions
          o Redesign the final token design
          o Deploy the design contract on the test network
          o Test transactions
          o Modifications and updates
   • Smart Contract
          o Research selected smart contract
          o Validate reflection
          o Create 4 way reflection model
          o Create 3 way reflection model
          o Create 2 way reflection model
          o Create testing model
          o Deploy the contracts on test network
   • Token Mining
          o Design the mining pool
          o Design the RAMP
          o Design the operational aspect
          o Design the rewards system
          o Design the algorithm
          o Build the prototype
          o Update the Contract
   • NFT Bounds Offering
          o Design the NFT Bounds for ROBe2
          o Custome develop each NFT from scratch
          o Create the registration system
          o Deploy the NFTs
   • Test Network Deployment
   • Main Network Deployment


                      SIGNATURES ARE ON THE PAGE TO FOLLOW




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                                   Signature Page



IN WITNESS WHEREOF, the undersigned have executed this Agreement as of __June 1st___,
2021 (the “Effective Date”).


   EMTECH                                   WebDbTech LLC

   By:   _____________________________      By: ____________________________
         Tom Davis
   Name: ___________                        Name:
   Title:      Partner                      Title: CEO
          December 9, 2021
   Dated: _____________________________     Dated: _______________________




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               EXHIBIT B




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                           Software Development Services Agreement

         This Software Development Services               5.   Independent         Contractor.
Agreement (the “Agreement”) is entered into       Developer’s relationship with the Company
the date set forth on the signature page by and   will be that of an independent contractor and
between Anish Pabari (the “Company”) and          not that of an employee. Developer will not
the     undersigned,       WebDbTech,       Inc   be eligible for any employee benefits, nor
(“Developer”).                                    will the Company make deductions from
                                                  payments made to Developer for
        The parties agree as follows:             employment or income taxes, all of which
                                                  will be Developer’s responsibility. Developer
         1. Services. Developer agrees to         will have no authority to enter into contracts
act as a software developer to the Company        that bind the Company or create obligations
and provide its services to the Company from      on the part of the Company without the prior
time to time as mutually agreed to by the         written authorization of the Company.
parties (collectively, the “Services”).           Similarly, the software developers assigned
                                                  work pursuant to this Agreement are
        2. Compensation. As full and              Independent Contractors working at the
complete consideration of the Services to be      request of Developer and will not be
rendered hereunder, the Company shall pay         employed by Company without prior notice
Developer for its Services at the agreed rate     to and approval by Developer.
of TWO HUNDRED THOUSAND US
DOLLARS ($200,000 USD).                                 6. Nondisclosure of Confidential
                                                  Information.
         3. Expenses. The Company shall
promptly reimburse Developer for any                           a. Agreement Not to Disclose.
reasonable costs and expenses incurred by         Developer agrees not to use any Confidential
Developer in connection with any Services         Information (as defined below) disclosed to
specifically requested by the Company and         Developer by the Company for Developer’s
actually performed by Developer pursuant to       own use or for any purpose other than to carry
the terms of this Agreement. Each such            out discussions concerning, and the
expenditure or cost shall be reimbursed only      undertaking of, the Services. Developer
if: (i) with respect to costs in excess of $50,   agrees to take all reasonable measures to
individually, Developer receives prior            protect the secrecy of and avoid disclosure or
approval from the Company’s CEO for such          use of Confidential Information of the
expenditure or cost, and (ii) with respect to     Company in order to prevent it from falling
costs in less than $50, individually, provided    into the public domain or the possession of
Developer furnishes to the Company                persons other than agents of the Company or
adequate records and other documents              persons to whom the Company consents to
reasonably acceptable to the Company              such disclosure. Upon request by the
evidencing such expenditure or cost.              Company, any materials or documents that
                                                  have been furnished by the Company to
        4. Term and Termination. The              Developer in connection with the Services
term of this Agreement shall continue until       shall be promptly returned by Developer to
terminated by either party for any reason         the Company.
upon written notice without further
obligation or liability except obligations                     b. Definition of Confidential
already    incurred    with     respect    to     Information. “Confidential Information”
Compensation.       Notwithstanding       the     means any information, technical data or
foregoing, to provide the parties with            know-how of, or disclosed by, the Company
adequate operational lead time, they agree to     to Developer (whether disclosed before or
provide each other with at least one (1)          after the date of this Agreement), including,
month’s prior written notice in the event of      but not limited to, information relating to
termination.                                      business and product or service plans,
                                                  financial projections, customer lists, business


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forecasts, sales and merchandising, human
resources, patents, patent applications,                    9.   Duty to Assist. As requested by the
computer object or source code, research,           Company and only with respect to Intellectual
inventions, processes, designs, drawings,           Property created by Developer for the Company
engineering, marketing or finance, which is         as provided in paragraph 8 above, Developer
indicated when disclosed to be confidential or      shall take all steps reasonably necessary to assist
proprietary or which information would,             the Company in obtaining and enforcing in its
under the circumstances, appear to a                own name any such Intellectual Property right.
reasonable person to be confidential or             Developer’s obligation to assist the Company
proprietary. Confidential Information does          shall continue beyond the termination of
not include information, technical data or          Developer’s relationship with the Company, but
know-how that: (i) is in the possession of          the Company shall compensate Developer at a
Developer at the time of disclosure, as shown       reasonable rate after the termination of such
by Developer’s files and records immediately        relationship for time actually spent at the
prior to the time of disclosure; or (ii) becomes    Company’s request providing such assistance.
part of the public knowledge or literature, not
as a direct or indirect result of any improper              10. Company’s Right to Disclose. The
inaction      or    action    of      Developer.    Company shall have the right to disclose the
Notwithstanding the foregoing, Developer            existence of this Agreement, Developer’s status
may disclose Confidential Information with          as an Developer, and to include Developer’s
the prior written approval of the Company or        name, image and profile in various promotional
pursuant to the order or requirement of a           materials, including, but not limited to, executive
court, administrative agency or other               summaries, private placement memo, or offering
governmental body.                                  materials, and the Company’s world wide web
                                                    page.
         7. No Rights Granted. Nothing in
this Agreement shall be construed as granting               11. No      Conflicts;     Non-Compete.
any rights under any patent, copyright or           Developer hereby represents, warrants and
other intellectual property right of the            covenants that Developer has the right, power and
Company, nor shall this Agreement grant             authority to enter into this Agreement and that
Developer any rights in or to the Company’s         neither the execution nor delivery of this
Confidential Information, except the limited        Agreement, nor the performance of the Services
right to use the Confidential Information in        by Developer will conflict with or result in a
connection with the Services.                       breach of the terms, conditions or provisions of,
                                                    or constitute a default under, any contract,
         8. Assignment of Intellectual              covenant or instrument under which Developer is
Property. To the extent that Developer              now or hereinafter becomes obligated. During
jointly or solely conceives, develops or            the term of this Agreement, Developer shall not
reduces to practice any new inventions,             provide any services, as an employee, Developer
original works of authorship, developments,         or otherwise, to any person, company or entity
concepts, know-how, improvements or trade           that is (or proposes to be) a business activity that
secrets, whether or not patentable or               is in conflict with or directly related to the
registrable under copyright or similar laws or      business in which the company is now involved
other intellectual property which would be          or becomes involved during the term of this
deemed to be Confidential Information of the        Agreement.
Company         (collectively,      “Intellectual
Property”) which clearly relates to the                      12. Miscellaneous. Any term of this
Company’s business or technology and has            Agreement may be amended or waived only with
been created by the Developer solely in the         the written consent of the parties.            This
course of the performance of Services such as       Agreement, including any schedules hereto,
in correspondence, e-mails, meetings or             constitute the sole agreement of the parties and
meetings relating to the Company, Developer         supersedes all oral negotiations and prior writings
hereby acknowledges that it is “work made           with respect to the subject matter hereof. The
for hire” for the benefit of the Company and        validity, interpretation, construction and
hereby assigns all rights, titles and interest to   performance of this Agreement shall be governed
such Intellectual Property to the Company.          by the laws of the State of Delaware without


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                                                                   #: 435
giving effect to the principles of conflict of laws.   original, but all of which together will constitute
This Agreement may be executed in                      one and the same instrument.
counterparts, each of which shall be deemed an

        13. Services
        The scope of this agreement is limited to the following services:
        Software development in relation with the proposed website changes.
        Assessment of the AI use in credit risk assessment.
        Evaluating blockchain use in creating immutable track of the loan records and the
        payments.

                       SIGNATURES ARE ON THE PAGE TO FOLLOW




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                                                                   #: 436
                                   Signature Page



IN WITNESS WHEREOF, the undersigned have executed this Agreement as of __May 1st___,
2021 (the “Effective Date”).


   Anish Pabari                             WebDbTech Inc

   By:      _____________________________   By: ____________________________
   Name: ___________                        Name:
   Title:                                   Title: CEO
   Dated: _____________________________     Dated: _______________________




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                                                                   #: 437
               EXHIBIT C




Case 3:22-cv-00555 Document 70 Filed 01/11/23 Page 21 of 38 PageID #: 438
                           Software Development Services Agreement

         This Software Development Services               5.   Independent         Contractor.
Agreement (the “Agreement”) is entered into       Developer’s relationship with the Company
the date set forth on the signature page by and   will be that of an independent contractor and
between Jeffrey Hou Yin Ho (the                   not that of an employee. Developer will not
“Company”)         and      the    undersigned,   be eligible for any employee benefits, nor
WebDbTech, Inc (“Developer”).                     will the Company make deductions from
                                                  payments made to Developer for
        The parties agree as follows:             employment or income taxes, all of which
                                                  will be Developer’s responsibility. Developer
         1. Services. Developer agrees to         will have no authority to enter into contracts
act as a software developer to the Company        that bind the Company or create obligations
and provide its services to the Company from      on the part of the Company without the prior
time to time as mutually agreed to by the         written authorization of the Company.
parties (collectively, the “Services”).           Similarly, the software developers assigned
                                                  work pursuant to this Agreement are
        2. Compensation. As full and              Independent Contractors working at the
complete consideration of the Services to be      request of Developer and will not be
rendered hereunder, the Company shall pay         employed by Company without prior notice
Developer for its Services at the agreed rate     to and approval by Developer.
of TWO HUNDRED THOUSAND US
DOLLARS ($200,000 USD).                                 6. Nondisclosure of Confidential
                                                  Information.
         3. Expenses. The Company shall
promptly reimburse Developer for any                           a. Agreement Not to Disclose.
reasonable costs and expenses incurred by         Developer agrees not to use any Confidential
Developer in connection with any Services         Information (as defined below) disclosed to
specifically requested by the Company and         Developer by the Company for Developer’s
actually performed by Developer pursuant to       own use or for any purpose other than to carry
the terms of this Agreement. Each such            out discussions concerning, and the
expenditure or cost shall be reimbursed only      undertaking of, the Services. Developer
if: (i) with respect to costs in excess of $50,   agrees to take all reasonable measures to
individually, Developer receives prior            protect the secrecy of and avoid disclosure or
approval from the Company’s CEO for such          use of Confidential Information of the
expenditure or cost, and (ii) with respect to     Company in order to prevent it from falling
costs in less than $50, individually, provided    into the public domain or the possession of
Developer furnishes to the Company                persons other than agents of the Company or
adequate records and other documents              persons to whom the Company consents to
reasonably acceptable to the Company              such disclosure. Upon request by the
evidencing such expenditure or cost.              Company, any materials or documents that
                                                  have been furnished by the Company to
        4. Term and Termination. The              Developer in connection with the Services
term of this Agreement shall continue until       shall be promptly returned by Developer to
terminated by either party for any reason         the Company.
upon written notice without further
obligation or liability except obligations                     b. Definition of Confidential
already    incurred    with     respect    to     Information. “Confidential Information”
Compensation.       Notwithstanding       the     means any information, technical data or
foregoing, to provide the parties with            know-how of, or disclosed by, the Company
adequate operational lead time, they agree to     to Developer (whether disclosed before or
provide each other with at least one (1)          after the date of this Agreement), including,
month’s prior written notice in the event of      but not limited to, information relating to
termination.                                      business and product or service plans,
                                                  financial projections, customer lists, business


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                                                                   #: 439
forecasts, sales and merchandising, human
resources, patents, patent applications,                    9.   Duty to Assist. As requested by the
computer object or source code, research,           Company and only with respect to Intellectual
inventions, processes, designs, drawings,           Property created by Developer for the Company
engineering, marketing or finance, which is         as provided in paragraph 8 above, Developer
indicated when disclosed to be confidential or      shall take all steps reasonably necessary to assist
proprietary or which information would,             the Company in obtaining and enforcing in its
under the circumstances, appear to a                own name any such Intellectual Property right.
reasonable person to be confidential or             Developer’s obligation to assist the Company
proprietary. Confidential Information does          shall continue beyond the termination of
not include information, technical data or          Developer’s relationship with the Company, but
know-how that: (i) is in the possession of          the Company shall compensate Developer at a
Developer at the time of disclosure, as shown       reasonable rate after the termination of such
by Developer’s files and records immediately        relationship for time actually spent at the
prior to the time of disclosure; or (ii) becomes    Company’s request providing such assistance.
part of the public knowledge or literature, not
as a direct or indirect result of any improper              10. Company’s Right to Disclose. The
inaction      or    action    of      Developer.    Company shall have the right to disclose the
Notwithstanding the foregoing, Developer            existence of this Agreement, Developer’s status
may disclose Confidential Information with          as an Developer, and to include Developer’s
the prior written approval of the Company or        name, image and profile in various promotional
pursuant to the order or requirement of a           materials, including, but not limited to, executive
court, administrative agency or other               summaries, private placement memo, or offering
governmental body.                                  materials, and the Company’s world wide web
                                                    page.
         7. No Rights Granted. Nothing in
this Agreement shall be construed as granting               11. No      Conflicts;     Non-Compete.
any rights under any patent, copyright or           Developer hereby represents, warrants and
other intellectual property right of the            covenants that Developer has the right, power and
Company, nor shall this Agreement grant             authority to enter into this Agreement and that
Developer any rights in or to the Company’s         neither the execution nor delivery of this
Confidential Information, except the limited        Agreement, nor the performance of the Services
right to use the Confidential Information in        by Developer will conflict with or result in a
connection with the Services.                       breach of the terms, conditions or provisions of,
                                                    or constitute a default under, any contract,
         8. Assignment of Intellectual              covenant or instrument under which Developer is
Property. To the extent that Developer              now or hereinafter becomes obligated. During
jointly or solely conceives, develops or            the term of this Agreement, Developer shall not
reduces to practice any new inventions,             provide any services, as an employee, Developer
original works of authorship, developments,         or otherwise, to any person, company or entity
concepts, know-how, improvements or trade           that is (or proposes to be) a business activity that
secrets, whether or not patentable or               is in conflict with or directly related to the
registrable under copyright or similar laws or      business in which the company is now involved
other intellectual property which would be          or becomes involved during the term of this
deemed to be Confidential Information of the        Agreement.
Company         (collectively,      “Intellectual
Property”) which clearly relates to the                      12. Miscellaneous. Any term of this
Company’s business or technology and has            Agreement may be amended or waived only with
been created by the Developer solely in the         the written consent of the parties.            This
course of the performance of Services such as       Agreement, including any schedules hereto,
in correspondence, e-mails, meetings or             constitute the sole agreement of the parties and
meetings relating to the Company, Developer         supersedes all oral negotiations and prior writings
hereby acknowledges that it is “work made           with respect to the subject matter hereof. The
for hire” for the benefit of the Company and        validity, interpretation, construction and
hereby assigns all rights, titles and interest to   performance of this Agreement shall be governed
such Intellectual Property to the Company.          by the laws of the State of Delaware without


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                                                                   #: 440
giving effect to the principles of conflict of laws.   original, but all of which together will constitute
This Agreement may be executed in                      one and the same instrument.
counterparts, each of which shall be deemed an

        13. Services
The scope of this agreement is limited to the following services:
   • Software development in relation with the proposed website changes.
   • Blockchain consultations with a prototype development capabilities.
   • Mobile services for the prototype.

                       SIGNATURES ARE ON THE PAGE TO FOLLOW




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                                                                   #: 441
                                   Signature Page



IN WITNESS WHEREOF, the undersigned have executed this Agreement as of __May 1st___,
2021 (the “Effective Date”).


   Jeffrey Hou Yin Ho                       WebDbTech Inc

   By:      _____________________________   By: ____________________________
             Jeffrey Hou Yini Ho
   Name: ___________                        Name:
   Title:                                   Title: CEO
          May 1 2021
   Dated: _____________________________     Dated: _______________________




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                                                                   #: 442
               EXHIBIT D




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                           Software Development Services Agreement

         This Software Development Services                5.   Independent         Contractor.
Agreement (the “Agreement”) is entered into        Developer’s relationship with the Company
the date set forth on the signature page by and    will be that of an independent contractor and
between Luminor Consulting Corp. (the              not that of an employee. Developer will not
“Company”)         and      the    undersigned,    be eligible for any employee benefits, nor
WebDbTech, LLC (“Developer”).                      will the Company make deductions from
                                                   payments made to Developer for
        The parties agree as follows:              employment or income taxes, all of which
                                                   will be Developer’s responsibility. Developer
         1. Services. Developer agrees to          will have no authority to enter into contracts
act as a software developer to the Company         that bind the Company or create obligations
and provide its services to the Company from       on the part of the Company without the prior
time to time as mutually agreed to by the          written authorization of the Company.
parties (collectively, the “Services”).            Similarly, the software developers assigned
                                                   work pursuant to this Agreement are
        2. Compensation. As full and               Independent Contractors working at the
complete consideration of the Services to be       request of Developer and will not be
rendered hereunder, the Company shall pay          employed by Company without prior notice
Developer for its Services at the agreed           to and approval by Developer.
schedule A below.
                                                         6. Nondisclosure of Confidential
        3.    Expenses. The Company shall          Information.
promptly reimburse Developer for any
reasonable costs and expenses incurred by                       a. Agreement Not to Disclose.
Developer in connection with any Services          Developer agrees not to use any Confidential
specifically requested by the Company and          Information (as defined below) disclosed to
actually performed by Developer pursuant to        Developer by the Company for Developer’s
the terms of this Agreement. Each such             own use or for any purpose other than to carry
expenditure or cost shall be reimbursed only       out discussions concerning, and the
if: (i) with respect to costs in excess of $500,   undertaking of, the Services. Developer
individually, Developer receives prior             agrees to take all reasonable measures to
approval from the Company’s CEO for such           protect the secrecy of and avoid disclosure or
expenditure or cost, and (ii) with respect to      use of Confidential Information of the
costs in less than $500, individually, provided    Company in order to prevent it from falling
Developer furnishes to the Company                 into the public domain or the possession of
adequate records and other documents               persons other than agents of the Company or
reasonably acceptable to the Company               persons to whom the Company consents to
evidencing such expenditure or cost.               such disclosure. Upon request by the
                                                   Company, any materials or documents that
        4.   Term and Termination. The             have been furnished by the Company to
term of this Agreement shall continue until        Developer in connection with the Services
terminated by either party for any reason          shall be promptly returned by Developer to
upon written notice without further                the Company.
obligation or liability except obligations
already    incurred    with     respect    to                   b. Definition of Confidential
Compensation.       Notwithstanding       the      Information. “Confidential Information”
foregoing, to provide the parties with             means any information, technical data or
adequate operational lead time, they agree to      know-how of, or disclosed by, the Company
provide each other with at least one (1)           to Developer (whether disclosed before or
month’s prior written notice in the event of       after the date of this Agreement), including,
termination.                                       but not limited to, information relating to
                                                   business and product or service plans,
                                                   financial projections, customer lists, business


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                                                                   #: 444
forecasts, sales and merchandising, human
resources, patents, patent applications,                    9.   Duty to Assist. As requested by the
computer object or source code, research,           Company and only with respect to Intellectual
inventions, processes, designs, drawings,           Property created by Developer for the Company
engineering, marketing or finance, which is         as provided in paragraph 8 above, Developer
indicated when disclosed to be confidential or      shall take all steps reasonably necessary to assist
proprietary or which information would,             the Company in obtaining and enforcing in its
under the circumstances, appear to a                own name any such Intellectual Property right.
reasonable person to be confidential or             Developer’s obligation to assist the Company
proprietary. Confidential Information does          shall continue beyond the termination of
not include information, technical data or          Developer’s relationship with the Company, but
know-how that: (i) is in the possession of          the Company shall compensate Developer at a
Developer at the time of disclosure, as shown       reasonable rate after the termination of such
by Developer’s files and records immediately        relationship for time actually spent at the
prior to the time of disclosure; or (ii) becomes    Company’s request providing such assistance.
part of the public knowledge or literature, not
as a direct or indirect result of any improper              10. Company’s Right to Disclose. The
inaction      or    action    of      Developer.    Company shall have the right to disclose the
Notwithstanding the foregoing, Developer            existence of this Agreement, Developer’s status
may disclose Confidential Information with          as an Developer, and to include Developer’s
the prior written approval of the Company or        name, image and profile in various promotional
pursuant to the order or requirement of a           materials, including, but not limited to, executive
court, administrative agency or other               summaries, private placement memo, or offering
governmental body.                                  materials, and the Company’s world wide web
                                                    page.
         7. No Rights Granted. Nothing in
this Agreement shall be construed as granting               11. No      Conflicts;     Non-Compete.
any rights under any patent, copyright or           Developer hereby represents, warrants and
other intellectual property right of the            covenants that Developer has the right, power and
Company, nor shall this Agreement grant             authority to enter into this Agreement and that
Developer any rights in or to the Company’s         neither the execution nor delivery of this
Confidential Information, except the limited        Agreement, nor the performance of the Services
right to use the Confidential Information in        by Developer will conflict with or result in a
connection with the Services.                       breach of the terms, conditions or provisions of,
                                                    or constitute a default under, any contract,
         8. Assignment of Intellectual              covenant or instrument under which Developer is
Property. To the extent that Developer              now or hereinafter becomes obligated. During
jointly or solely conceives, develops or            the term of this Agreement, Developer shall not
reduces to practice any new inventions,             provide any services, as an employee, Developer
original works of authorship, developments,         or otherwise, to any person, company or entity
concepts, know-how, improvements or trade           that is (or proposes to be) a business activity that
secrets, whether or not patentable or               is in conflict with or directly related to the
registrable under copyright or similar laws or      business in which the company is now involved
other intellectual property which would be          or becomes involved during the term of this
deemed to be Confidential Information of the        Agreement.
Company         (collectively,      “Intellectual
Property”) which clearly relates to the                      12. Indeimnification. Except for the
Company’s business or technology and has            express representations and warranties stated in
been created by the Developer solely in the         this agreement, the services and the work product
course of the performance of Services such as       of Developer are sold "as is." In all
in correspondence, e-mails, meetings or             circumstances, other than a breach of Company’s
meetings relating to the Company, Developer         intellectual property rights or a breach of
hereby acknowledges that it is “work made           confidentiality, the maximum liability of
for hire” for the benefit of the Company and        Developer, its directors, officers, employees,
hereby assigns all rights, titles and interest to   agents and affiliates, to Company for damages for
such Intellectual Property to the Company.          any and all causes whatsoever, and Company's


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                                                                   #: 445
maximum remedy, regardless of the form of             reasonable attorneys’ fees and the cost of
action, whether in contract, tort or otherwise,       enforcing any right to indemnification hereunder
shall be limited to the amounts actually paid by      and the cost of pursuing any insurance providers.
Company to the Developer hereunder. In no event
shall Developer is liable for any lost data or
content, lost profits, business interruption or for   Miscellaneous. Any term of this Agreement may
any indirect, incidental, special, consequential,     be amended or waived only with the written
exemplary or punitive damages arising out of or       consent of the parties. This Agreement, including
relating to the materials or the services provided    any schedules hereto, constitute the sole
by Developer, even if Developer has been              agreement of the parties and supersedes all oral
advised of the possibility of such damages and        negotiations and prior writings with respect to the
notwithstanding the failure of essential purpose      subject matter hereof. The validity, interpretation,
of any limited remedy. Reciprocally, To the           construction and performance of this Agreement
extent that any claims by a Company client ,          shall be governed by the laws of the State of
employee, or user arise, Company shall                Delaware without giving effect to the principles
indemnify Developer and hold Developer                of conflict of laws. This Agreement may be
harmless for those claims and any related losses,     executed in counterparts, each of which shall be
damages, liabilities, deficiencies, actions,          deemed an original, but all of which together will
judgments, interest, awards, penalties, fines,        constitute one and the same instrument.
costs, or expenses of whatever kind, including




                     SIGNATURES ARE ON THE PAGE TO FOLLOW




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                                                                   #: 446
                                   Signature Page



IN WITNESS WHEREOF, the undersigned have executed this Agreement as of __June 1st___,
2021 (the “Effective Date”).


   Luminor Consulting Corp.                 WebDbTech LLC

   By:      _____________________________   By: ____Dr. Adel ElMessiry_______
   Name: ___________                        Name:
   Title:                                   Title: Founder
   Dated: _____________________________     Dated: _______________________




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                                                                   #: 447
                          Schedule A: Compansation




 ITEM                        ESTIMATE
 TOKEN DESIGN                  $75,000
 SMART CONTRACT                $25,000
 TOKEN LOCKS                   $50,000
 STAKING DESIGN                $50,000
 STAKING INTERFACE             $50,000
 TEST NETWORK DEPLOYMENT       $25,000
 MAIN NETWORK DEPLOYMENT        $5,000
                              $280,000




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                                                                   #: 448
                    EXHIBIT E




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11/30/22, 3:35 PM                                                                        EV Battery Tech Secures Early-Stage Investment in Crypto




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                                                     NEWS            19                                       US
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                                          EV Battery Tech Secures Early-Stage
                                          Investment in Crypto Protocol
                                          November 03, 2021 07:00 ET | Source: Extreme Vehicle Battery Technologies
                                          Corp.




                                                The Company has Secured a Seed Round Ownership Position in the
                                                  ROBe2 Protocol Which Has Now Had Its Patent Pending “Proof of
                                                                       Renewable” Mining Protocol Published

                                          VANCOUVER, British Columbia, Nov. 03, 2021 (GLOBE NEWSWIRE) --
                                          Extreme Vehicle Battery Technologies Corp. (the “Company” or “EV Battery
                                          Tech”) (CSE: ACDC) (OTCQB: CRYBF), is pleased to announce that it has
                    ...                   invested in the Renewable Obligation Base energy economy protocol
                                          (“ROBe2 Protocol”).

                                          On October 5, 2021, the Company was accepted into the Renewable Energy
                                          Alliance (the “REA”), and has since commenced a collaboration with the
                                          ROBe2 Protocol and IONiX Pro Battery Technologies Inc. (“IONiX Pro”). The
                                          collaboration is intended to develop an energy storage system (ESS) utilizing
                                          the Company’s patented battery management system (BMS) to create the
                                          world’s first device to operate the ROBe2 Protocol’s patent pending Proof of
                                          Renewable mining protocol (the “PoR Protocol”). The PoR Protocol has the
                                          ability to both verify energy’s renewable source and use a blockchain based
                                          cryptocurrency mining system that will mine the ROBe2 Protocol. This
                                          milestone for the ROBe2 Protocol and its PoR Protocol is particularly
                                          significant, as one of the common criticisms towards cryptocurrencies in
                                          general is the way in which they are mined.

                                          Since the collaboration commenced, the Company and IONiX Pro have seen
                                          rapid development of the ROBe2 Protocol, particularly regarding the PoR
                                          Protocol. Notably, on October 29, 2021, the PoR Protocol was published at
                                          the International Conference on Cryptography and Blockchain in Vienna,
                                          Austria. Some of the more advanced cryptocurrencies have published
                                          “white papers” which provide investors technical information about their
                                              Case 3:22-cv-00555 Document 70 Filed 01/11/23 Page 33 of 38 PageID #: 450
https://www.globenewswire.com/news-release/2021/11/03/2326191/0/en/EV-Battery-Tech-Secures-Early-Stage-Investment-in-Crypto-Protocol.html                                1/6
11/30/22, 3:35 PM                                                                        EV Battery Tech Secures Early-Stage Investment in Crypto


                                          concept and a roadmap for how they plan to grow and succeed. However,
                                                     ESG             COVID-
                                                                                     SERVICES                CONTACT              FRANÇAIS         SIGN IN
                                          only aNEWS
                                                 few have
                                                        19
                                                           had academic papers published that contain original
                                                                              US
                                          research resultsNEWS
                                                           that are reviewed by academic experts before being
                                                                                                                                                     REGISTER   search
                                          published. The PoR Protocol academic paper is also anticipated to be
                                          published in the following journals:

                                                  International Journal of Computer Networks & Communications
                                                  (IJCNC) - Scopus Indexed, ERA Indexed
                                                  International Journal On Cryptography And Information Security (IJCIS)
                                                  International Journal of Security, Privacy and Trust Management
                                                  (IJSPTM)
                                                  International Journal of Network Security & Its Applications (IJNSA) -
                                                  ERA Indexed
                                                  Information Technology in Industry (ITII) New- ESCI(WOS) Indexed

                                          “I am honored to have this ground-breaking scientific achievement
                                          published at the International Conference on Cryptography and
                                          Blockchain,” commented Dr. Adel El-Messiry, co-author of the PoR
                                          academic paper.

                                          “Having a published academic paper sets the ROBe2 Protocol apart from
                                          other cryptocurrencies. We hope the innovation of the Proof of Renewable
                                          mining protocol will become the new standard in crypto mining,”
                                          continued Dr. El-Messiry.

                                          Through its collaboration with the ROBe2 Protocol, the Company was able to
                                          participate in a unique and limited Non-Fungible-Token (NFT) offered by the
                                          ROBe2 Protocol. The NFT auction for a limited amount of ROBe2 Protocol
                                          NFT Bonds (each an “NFT Bond”) took place on November 1, 2021 at 9am
                                          CST. All the NFT Bonds sold out in less than one minute. The Company is
                                          pleased to announce that it managed to secure $2,000,000 worth of NFT
                                          Bonds in this auction.

                                          The NFT Bonds

                                          Like the ROBe2 Protocol, the NFT Bonds have several unique characteristics
                                          as a means of investing in cryptocurrency:

                                                  they provide an opportunity for investors to own part of the ROBe2
                                                  Protocol, pre-launch;
                                                  their value is based on the price of the underlying token of the ROBe2
                                                  Protocol;
                                                  they automatically deposit tokens directly into the digital wallet of the
                                                  owner until maturity;
                                                  they provide the owner the flexibility to trade the NFT Bond on an NFT
                                                  exchange or hold the NFT Bond and collect the tokens, or both; and
                                                  no two are alike, making each NFT Bond completely unique.


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                                          “The REA, the ROBe2 Protocol and EV Battery Tech/IONiX Pro are potentially
                                                     ESG             COVID-          SERVICES                CONTACT              FRANÇAIS         SIGN IN
                                          changing
                                                NEWS
                                                      the way
                                                           19
                                                              all crypto is mined  as they collaborate on the PoR
                                                                                   US
                                                                                                               REGISTER
                                                           NEWS Dr. Tom Davis, Chief Renewable Officer of the REA.
                                          Protocol,” commented
                                                                                                                                                              search

                                          “This is what recently captivated the audience at the International
                                          Conference on Cryptography and Blockchain in Vienna. They were filled
                                          with awe at the possibilities as they processed the PoR Protocol,” continued
                                          Dr. Davis.

                                          The Company has now provided its shareholders exposure to the growth of
                                          the ROBe2 Protocol, while it continues to work with IONiX Pro to develop the
                                          hardware for the ROBe2 Protocol’s patent pending PoR Protocol. The
                                          Company is following the lead of other tech giants that have started
                                          building cryptocurrency portfolios.

                                          “This is a pivotal moment in blockchain mass adoption developed through
                                          a visionary approach to solve the energy problems in our world,”
                                          commented EV Battery Tech CEO, Bryson Goodwin.

                                          “We continue to increase our exposure to crypto, providing our
                                          shareholders more and more exposure to the potential upside in this
                                          forward-looking movement. As the other tech giants in our space did
                                          before us, we also intend to increase our position as we grow alongside this
                                          energy conscious cryptocurrency protocol,” concluded Mr. Goodwin.

                                          On behalf of the Company,

                                          Bryson Goodwin,
                                          Chief Executive Officer

                                          About the Renewable Obligation Base energy economy (ROBe2) Protocol

                                          The Renewable Obligation Based energy economy protocol, or ROBe2
                                          (pronounced Rob-ee), is a decentralized digital currency, designed to
                                          incentivize the creation and consumption of renewable energy, by creating
                                          an obligation to generate renewable energy each time a token is mined and
                                          transacted. The ROBe2 Protocol can only be mined via a patent pending,
                                          carbon negative “Proof of Renewable” mining protocol that requires the
                                          creation of renewable energy. While the target motivations center around
                                          the creation of the most advanced decentralized utility digital currency, the
                                          larger objectives are to stimulate a global movement against climate
                                          change and economic oppression that plague our world even in this
                                          modern day of science and technology.




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                                          Solving the global energy crisis requires local implementation of a global
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                                          systemNEWS
                                                 that can19track, verify, and incentivize
                                                                                     US
                                                                                          renewable energy production
                                          at the base level.NEWS
                                                             It requires a Renewable Obligation Base energy economy,
                                                                                                                                                            REGISTER   search
                                          that is open to everyone and where each financial transaction creates the
                                          incentive for generating renewable energy continuously and automatically.

                                          Learn more at ROBe2.io

                                          About EV Battery Tech

                                          EV Battery Tech is a blockchain and battery technology company with
                                          revolutionary, patented Battery Management Systems (BMS) designed to
                                          meet the growing demand for scalable, smart solutions for the rapidly
                                          growing electric vehicle (EV) and energy storage solution (ESS) markets. The
                                          company has committed to assisting global recycling solutions by offering
                                          recycling initiatives using their technology to analyze and fully refurbish
                                          used batteries.

                                          Learn more at evbattery.tech

                                          About IONiX Pro

                                          IONiX Pro is a leading battery products and services company. Utilizing
                                          proprietary blockchain technology and patented battery management
                                          system (BMS) technology, licensed by EV Battery Tech, IONiX Pro has a
                                          growing portfolio of scalable, cutting-edge products and services for the
                                          home and office, recreational vehicles, major industrial applications and
                                          electric vehicle charging infrastructure. IONiX Pro has created disruptive
                                          “Smart” products targeted for the electric vehicle (EV) and energy storage
                                          system (ESS) markets.

                                          Learn more at ionixpro.com

                                          Contact Numbers and Emails

                                          For          Investor             Inquiries,            please            contact             (236)          259-0279
                                          or email info@evbattery.tech.
                                          For        Product           or      Sales         Inquiries,          please         contact             (236)    266-
                                          5174 or email sales@ionixpro.com.
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                                          disapproved of the contents of this press release.

                                          Forward Looking Statements




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                                          Statements in this news release that are forward-looking statements are
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                                          subjectNEWS
                                                  to various
                                                          19
                                                             risks and uncertainties,
                                                                                  US
                                                                                      including the specific factors
                                                         NEWSelsewhere in EV Battery Tech’s periodic filings with
                                          disclosed here and
                                                                                                                                                     REGISTER      search
                                          Canadian securities regulators. When used in this news release, words such
                                          as “will”, “hope”, “could”, “plan”, “estimate”, “expect”, “intend”, “may”,
                                          “potential”, “believe”, “should”, “projected”, “proposed”, “rendering” and
                                          similar expressions, are forward-looking statements. The information in this
                                          news release includes certain information and statements about
                                          management’s view of future events, expectations, plans and prospects
                                          that constitute forward-looking statements. These statements are based
                                          upon assumptions that are subject to risks and uncertainties. Forward-
                                          looking statements in this news release include, but are not limited to,
                                          statements respecting: (i) the utility and function of the ROBe2 Protocol and
                                          the PoR Protocol; (ii) the environmental impact of the ROBe2 Protocol and
                                          the PoR Protocol; (iii) value of the NFT Bonds ; and (iv) the future success of
                                          the collaboration between the Company, IONiX Pro and ROBe2 Protocol.
                                          Although the Company believes that the expectations reflected in forward-
                                          looking statements are reasonable, it can give no assurances that the
                                          expectations of any forward-looking statement will prove to be correct.
                                          Except as required by law, the Company disclaims any intention and
                                          assumes no obligation to update or revise any forward-looking statements
                                          to reflect actual results, whether as a result of new information, future
                                          events, changes in assumptions, changes in factors affecting such forward-
                                          looking statements or otherwise.




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